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IN THE UNITED STATES DlSTRICT COURT
FOR THE SOUTI~IERN DlSTRICT OF TEXAS \

MCALLEN DlesloN
JESUS BACA AND §
MARGARITA BACA §
§
vs. § clvlL AcTIoN No. 7=17-¢v-00109
§
ALLSTATE vEHIcLE AND § JURY DEMANDED
PRoPERTY INSURANCE AND §
TANYA vEGA §

AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

 

Plaintiffs, Jesus Baca and Margarita Baca and Defendants, Allstate Vehicle and Property
Insurance Company and Tanya Vega, file this, the Paities’ Agreed Stipulation of Dismissal with
Prejudice under Federal Rule of Civil Procedure 41(a)(l)(A)(ii), and would show the Court as
follows:

l. On August 12, 2016, Plaintiffs, Jesus Baca and Margarita Baca sued Defendants,

Allstate Vehicle and Property Insurance Company and Tanya Vega.

2. Plaintiffs, Jesus Baca and Margarita Baca, moves to dismiss their suit.

3. Defendants agree to the dismissal of Jesus Baca and Margarita Baca’s claims

4. This case is not a class action.

5. A receiver has not been appointed in this case.

6. This case is not governed by any federal statute that requires a court order for the

dismissal of Jesus Baca and Margarita Baca’s case.
9. Plaintiffs have not previously dismissed any federal court or state court suit based
on or including the same claims as those presented in this case.

10. This dismissal is with prejudice to re-iiling.

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Respectful]y submitted,
Lan'y W. Laév§%
Attorney in rge

Fed I.D. No.: 21827

State Bar No.: 00794145

3112 Windsor Rd., Suite A234
Austin, Texas 78703

(956) 994-0057

(956) 994-0741 (fax)

Of Counsel:

Michael Lawrence
Federai ID No. 705429
State Bar No. 24055 826
Celeste Guerra

Fed. ID No.

State Bar No. 00795395
LAWRENCE LAW FIRM
31 12 Windsor Rd., Suite A234
Austin, Texas 78703

(956) 994-0057

(956) 994-0741 (fax)

Dan Cartwright

State Bar No. 03942500
Federal ID No.

Lory Sopchack

State Bar No. 24076706
Federal ID No.
CARTWRIGHT LAW FIRM, LLP
1300 Post Oak Blvd., Suite 760
Houston, Texas 77056

(713) 840-0950

(713) 840-0046 (fax)

/S/ .‘RMM¢ €amra¢£~SMu_g/;

Rosematy Conrad~Sandova|
Attorney In Charge

Fed. I.D. No. 13738

State Bar No. 04709300

Of Counsel:

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ROERIG, 0leE1RA & FISHER, L.L.P.
10225 N. 10“‘ street

McAllen, TX 78504

(956) 393-6300

(956) 386-1625 Fax

CERTIFICATE OF SERVICE

I, the undersigned hereby certify that a true and correct copy of the foregoing document

has been sent via electronic messaging to the Attorney for Plaintiffs, as follows:

Lan'y W. Lawrence

Michael Lawrence

Celeste Guerra

LAWRENCE LAW FIRM
Attorney in Charge

3112 Windsor Rd., Suite A234
Austin, Texas 78703

Dan Cartwright

Lory Sopchack

CARTWRIGHT LAW FIRM, LLP
1300 Post Oak Blvd., Suite 760
Houston, Texas 7705 6

on this day of July, 2017.

 

/S/ .‘Rtw emmad~$amiaaa£
ROSEMARY CONRAD-SANDOVAL

